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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                   )
                                           )
       v.                                  )
                                           )       Case No. 21-cr-10200-RGS
ABHIJIT DAS                                )
     a/k/a “Beej Das”                      )
                                           )
       Defendant.                          )

                  UNITED STATES’ SENTENCING MEMORANDUM

       The United States respectfully submits that this Court should sentence the

defendant, Abhijit “Beej” Das (“Das”) to 24 months of incarceration within the custody of

the U.S. Bureau of Prisons. The government also does not object to the extension of a

self-surrender date for a reasonable period to permit the resolution of the still pending case

before U.S. District Court Judge Angel Kelley, case number 23-cr-10160-AK.

                 U.S. SENTENCING GUIDELINES CALCULATION

       While the U.S. Sentencing Guidelines (“Guidelines” or “U.S.S.G.”) are advisory and

not mandatory, United States v. Booker, 543 U.S. 220 (2005), the First Circuit has made

clear that “the guidelines still play an important role in the sentencing procedure, so that [ ]

a court should ordinarily begin by calculating the applicable guideline range.” United States

v. Gilman, 478 F.3d 440, 445 (1st Cir. 2007). A properly calculated guideline range is the

starting point for most sentences imposed under the advisory sentencing guidelines. See

Molina-Martinez v. United States, 136 S. Ct. 1338, 1345 (2016); United States v. Patch, 9

F.4th 43, 48 (1st Cir. 2021).

       As described below, the government submits that Das’s total offense is level 20, with



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criminal history category I, and an advisory sentencing guideline range of 33 to 41 months

of incarceration.

       Das Took $314,500 from the Campaign Account

       As typical in cases involving fraud, the base offense level for counts 1 through 3

(accepting excessive contributions, conduit contributions, and conversion of campaign

funds) are grouped together because the base offense level for these offenses is largely

driven by the amount of loss. See USSG § 3D1.2(d). For this case, the amount of loss is

driven by count 3, the conversion of campaign funds.        The Final Pre-Sentence Report

(“PSR”) dated May 22, 2024, found that amount to be within a range of between $250,000

and $550,000 under the Loss Table at USSG § 2B1.1(b)(1)(G). This amount is plainly

correct.

       At trial and now, the defendant does not contest that between January and May 2018,

that either Das (and his hotel manager Sean Smith at his direction) withdrew a total of

approximately $314,500. See Exhibit 146.2. Under the statute, contributions or donations

in a campaign account are “considered to be converted to personal use” if they are used

debts that are unrelated to the campaign. See 52 U.S.C. § 30114(b)(2). The money Das

withdrew was used for debts unrelated to the campaign. Even giving Das the benefit of the

doubt regarding his claim that he paid $54,050 in credit card bills related the campaign from

those funds, the total amount that Das converted from the campaign account was still more

than $250,000 ($314,500 - $54,050 = $260,450).

       In the face of this direct tracing of the money he took from the campaign account –

which Das withdrew in convoluted teller transactions at the bank in a desperate attempt to



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salvage his failing business - Das makes several claims that he made, and were rejected by,

the jury.

        First, Das argues that he and his family had money available from a condo sale in

India. Thus, while most of these funds never touched the campaign account, and he took

money out of his campaign, it was his intention, all along to self-finance his campaign.

Second, Das also repeats his argument that the $175,000 in “contributions” were simply

loans and not political contributions for the benefit of the Das For Congress campaign.

Once loaned, the money was his, and his withdrawal of funds was not conversion, but a

repayment of his own money. The court’s instructions clearly permitted the jury to consider

this argument1 and by its verdict, rejected it.

        Third, Das’s argument that the Supreme Court in FEC v. Cruz, 596 U.S. 289 (2022)

somehow vindicates his position is just wrong. The Court in Cruz struck down a provision

of campaign finance law that limited the amount of funds to $25,000 that a candidate once

elected could raise from contributors after an election to help repay loans the candidate (in

this case, Senator Ted Cruz) had made to the campaign from their own personal funds. The

Court struck down this limitation as a violation of the First Amendment because the

regulation was based on the mere fact that raising of money had the appearance, and not

proof, of a quid pro quo. Id at 308. Cruz does not apply, because the premise of Das’s

argument is wrong. In contrast to the facts of the Cruz case, Das did not give himself, or




1
 For example, the court’s instruction for count 3 provided that “a repayment from campaign funds of a
loan or debt a candidate has made to his campaign using his own funds is not deemed by the law to
constitute a personal use. Nor does the law impose any limits on the candidate’s right to repay himself
from the campaign bank account for these loans or debt.” See Court’s Instructions, Page 18.



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loan himself a substantial portion of the money.

           According to records from ActBlue, between November 15, 2017, and December

31, 2017 (during the first quarter of the campaign), the Das For Congress Campaign

collected a total of approximately $113,466 in individual online contributions. Based on

the FEC Form for the EOY-2017, the total amount of individual contributions (including

checks and online contributions) was $150,847.

           While Das claimed to have loaned himself $279,574, the evidence at trial

demonstrated that $125,000 of that money were illegal contributions.2 By its guilty verdict

for counts 1 and 2 regarding illegal campaign contributions, the jury also necessarily

rejected Das’s argument, that these contributions were simply loans for the hotel business.

The jury’s verdict was well-grounded in the testimony of two of the donors (Jay Shah and

Toby Chaudhuri) and their testimony – that the money they gave was for the benefit of the

campaign to get Das into Congress – was corroborated by contemporaneous text and email

messages. See e.g., Exhibit 99 (Email from Das to Shah about the need to get to the $450k

level “even with some engineering”) and Exhibits 102 (text messages from Das to

Chaudhuri that he will “aggregate and send as one batch” so “the ‘self-fund’ will be close

to $250k”). Das put “self-fund” in quotes.

           The Sentencing Guidelines provide the district court with broad discretion to

determine the amount of loss and the court “need only make a reasonable estimate of the

loss.” U.S.S.G. § 2B1.1 app. n.3(C); United States v. Mayendía-Blanco, 905 F.3d 26, 35

(1st Cir. 2018). While the government of course bears the burden of proving loss by a


2
    Out of three illegal contributors, Das repaid one in January 2018, $25,000.



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preponderance of the evidence, United States v. Akoto, 61 F.4th 36, 45 (1st Cir. 2023), the

evidence presented to the court and the jury established the defendants use of at least

$267,000 in campaign funds for hotel related expenses. Together with the evidence that

Das withdrew $314,500 from the campaign account in suspicious, convoluted

transactions, the amount of money converted is (more likely that not) more than $250,000.

       Obstruction of Justice

       While not the entire case, one aspect of the evidence against Das at trial was the

testimony of several Lowell Five bank tellers. Each of them testified about the suspicious

nature of Das’s requests to them. He wanted to withdraw “cash” from the campaign

account, but for the most part, he did not want the cash. He wanted the teller to redeposit

the funds into one of his overdrawn hotel accounts so he could pay a bill. As part of the

coverup, he did not want it to look like the money he was depositing into the hotel account

came from the campaign account. Instead of going along with the Das’s ploy, the tellers

did their job and accurately recorded where the money came from, and where it went.

       Following Das’s conviction in this case on October 13, 2023, on April 10, 2024,

Das retaliated with a civil lawsuit against Lowell Five that repeats and amplifies the same

arguments Das made at trial. This case is now pending before U.S. District Court Judge

Allison D. Burroughs, 1:12-cv-10931-ADB. The plaintiffs in the lawsuit include the

defendant, the defendant’s parents, and entities related to the defendant’s hotel business.

Without any doubt, the lawsuit is directly related to Das’s prosecution, is materially false,

and was conceived with a corrupt intent to undue his conviction before this court.




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        While the conduct took place after trial,3 the cases make clear that “post-conviction

behavior can be [] obstruction of justice under U.S. Sentencing Guidelines Manual §

3C1.1.” United States v. Butler, 2010 WL 4561417, at *2 (9th Cir. 2010); see also United

States v. McCarthy, 961 F.2d 972, 980 (1st Cir. 1992) (defendant’s flight after conviction

supported enhancement that the “defendant willfully impeded ... the administration of

justice”). What is also clear from obstruction charges in general, the plan does not need to

be successful. Instead, what matters is the endeavor, and the corrupt intent in the attempt.

        The conduct warrants an enhancement because it demonstrates by at least a

preponderance of the evidence that “the defendant willfully obstructed or impeded, or

attempted to obstruct or impede, the administration of justice with respect to the . . .

prosecution, or sentencing of the instant offense of conviction, and (2) the obstructive

conduct related to (A) the defendant's offense of conviction and any relevant conduct. . .

.” USSG § 3C1.1 (emphasis added).

        While the complaint is long and contains numerous conspiratorial-like allegations,

one of the central themes is the same argument that the defendant made at trial which was

proven false and rejected by the jury verdict. The complaint is not only materially false

and misleading but was made with a clear purpose to deceive a court about his recent

conviction. In sum, the complaint alleges that the civil defendant, Lowell Five,

unlawfully retaliated against the defendant, produced false records and testimony to the

U.S. government, and that corrupt behavior led to his unlawful conviction at trial in this



3
 Undersigned counsel learned of the suit for the first time on June 10, 2024, not from any of Das’s various
counsel, but from an attorney for one of witnesses in the case.



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case. Some of the materially false allegations include the following:

            First, through its factual allegations, the defendant alleges that the U.S.
             Attorney’s Office and the FBI suborned perjury at trial by receiving and
             using manufactured evidence and testimony from bank witnesses. See
             complaint ¶¶ 19-26, 37-38

            Second, by representing the same defense that he presented to the jury, and
             which the jury rejected, namely that his conversion of more than $300,000
             in campaign funds was simply the defendant’s repayment of money he
             loaned to himself. As the evidence was adduced at trial, the defendant never
             reported any loan repayments on the FEC Form 3 until after the campaign.
             See PSR ¶ 64.

            Third, by falsely claiming that Toby Chaudhuri and the two other
             contributors to the campaign (Jay Shah and Ajoy Bose) simply lent money
             the defendant’s mother, Mitra Das, to help the family business, see
             complaint ¶ 182, fn. 11, when Chaudhuri and Shah both testified that their
             money was for the DFC Campaign.

       While docketed as a separate matter, any finding by Judge Burroughs about the

veracity of the government’s witnesses and evidence would necessarily have an impact on

the defendant’s conviction, and that appears to be the point. For that reason, the

obstructive conduct is clearly related to the defendant’s offense of conviction.

Furthermore, under the commentary to USSG § 3C1.1, note 4, the materially false factual

allegations in the civil complaint fit the type of conduct that should warrant an

enhancement, namely, “providing materially false information to a judge.”

       Furthermore, while the commentary makes clear that the obstruction of justice

sentencing enhancement was “not intended to punish a defendant for the exercise of a

constitutional right” (like the right to testify), the allegations in the 103-page civil

complaint are not the result of “confusion, mistake, or faulty memory.” See USSG

§ 3C1.1, comment (n.2). Instead of addressing these issues before this Court, the




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defendant has chosen to burden the docket of another U.S. District Court in a civil lawsuit

predicated on knowing falsehoods.

        What is more, this lawsuit is not the first time within the past year that this

defendant, under the guise of legitimate civil proceeding, has knowingly caused false and

misleading representations to be made to a U.S. District Court Judge in this courthouse

about the criminal charges against him. Following his June 20, 2023 wire fraud

indictment before Judge Kelly (23-cr-10160-AK), on July 10, 2023, Das’s law firm, Troca

Global Advisors filed an interpleader action in case number 23-cv-11546-AK. That

action represented to Judge Kelly that the basis of the criminal charges in the indictment

(alleging that Das misappropriated more than $5 million in escrow funds from his client

and their company, MRO Industrial Supply) was simply a commercial dispute (between

MRO Industrial Supply and a third party, Global Liquidity), and that Troca Global

Advisors was willing to make the funds available in an escrow account. After several

status hearings, it became clear that Troca Global Advisors and Das did not actually have

any money to share. Instead, it was willing to sell its interest in the Troca One Yacht.

The case was voluntarily dismissed.

        Accordingly, the government submits that the court should increase the defendant’s

base offense level by 2-levels under USSG § 3C1.1, resulting in a total adjusted offense

level of 20,4 and a GSR of 33-41 months.




4
 The government agrees that since the case before Judge Kelly is pending, the defendant qualifies as a
zero-point offender under 4C1.1, resulting in a two-level reduction.



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           THE GOVERNMENT’S SENTENCING RECOMMENDATION

       Section 3553(a) of Title 18 specifies the factors courts are to consider in imposing a

sentence and instructs courts to “impose a sentence sufficient, but not greater than

necessary, to comply with” the four identified purposes of sentencing: just punishment,

deterrence, protection of the public, and rehabilitation. Section 3553(a) then directs a

sentencing court to consider “the nature and circumstances of the offense and the history

and characteristics of the defendant,” as well as “the need for the sentence imposed” to serve

the four overarching aims of sentencing. §§ 3553(a)(1), (2)(A)–(D); see Gall v. United

States, 552 U.S. 38, 50, n. 6 (2007). The Court must also consider the pertinent guidelines

and policies adopted by the Sentencing Commission. §§ 3553(a)(4), (5); see Gall, 552 U.S.

at 50, n. 6.

   A. The Nature and Circumstances of the Offense and Defendant’s
      Characteristics
      (18 U.S.C. § 3553(a)(1))

       1. Nature and Circumstances of the Offense

       Das’s violations of the Federal Election Campaign Act (“FECA”) went well beyond

mere regulatory or reporting offenses. First, Das asked for contributions to his campaign

and then stole their money. While a candidate for the United States Congress, during

November 2017 and September 2018, some 400 individual donors gave Das a total of more

than $200,000 in online contributions alone. In the first quarter of the campaign by the end

of 2017, Das solicited a total of more than $100,000 online contributions. After building

an impressive cash-on-hand number of $425,000 built on a lie, by January 2018, Das began

to steal the same money from his contributors. While part of the money that Das then took



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from the campaign account included money from Das’s family, the remainder of funds was

entrusted to Das for his campaign, not his struggling hotel business. Voters gave Das money

because they believed in his cause, and the defendant abused their trust in him.

       Second, Das’s crimes required a high degree of effort, planning, and deceit. First,

Das concocted a scheme to circumvent the election laws to cheat; to beat out the other

candidates for the open seat by knowingly breaking the rules and used his own parents as

conduits for his scheme. Second, Das then took advantage of those newly acquired funds

to use it for himself and his struggling business. It was not a one-time thing. On twenty

different occasions between January and May 2018, Das went a branch of Lowell Five and

took money from his own campaign account and gave it to himself. That money was not

his; it belonged to his campaign.

       2. History and Characteristics of the Defendant

       Das is not your typical criminal defendant. He is a Michigan law school trained

attorney who clerked for a U.S. District Court Judge in Maryland and grew up in and a

secure and supportive environment in North Andover. There is nothing in Das’s

background that would suggest any mitigating factors or excuses for his conduct.

   B. The Need for Sentence Imposed (18 U.S.C. § 3553(a)(2))

       1. To Reflect the Seriousness of the Offense, Promote Respect for the Law, and
          Provide Just Punishment.

       Many white-collar criminal defendants who appear for sentencing after conviction

carry some sense of appreciation of their wrongdoing. For some of these defendants, the

fact of conviction and the mere possibility of incarceration and further punishment is

enough to deter them from any further thought of criminal conduct. That defendant is not


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Abhijit Das.

        While Das enjoys the presumption of innocence for his pending wire fraud case,

the fact that Das has been charged by a grand jury for misappropriating more than $5

million from his client’s escrow funds is significant. Das is alleged to have committed the

crime while on pre-trial release in this case. As alleged in that indictment, the

misappropriation started shortly after the indictment in this case. In other words, Das’s

response to campaign finance fraud and embezzlement, abusing the trust as a

congressional candidate, was to commit an even larger fraud, abusing his trust as a

member of the bar. Das’s response to the conviction in this case was then to seek to

obstruct justice through a bogus civil lawsuit.

        Das’s conduct that led to the conviction in this case, and his responses to the

charges demonstrate a salient fact: the defendant, an attorney, a member of the

Massachusetts bar, who was vying to join the U.S. House of Representatives does not

believe that the rule of law applies to him. As the saying goes, the defendant believes that

he is “the smartest guy in the room” who can, in his words, “engineer” ways around the

law.

        The governments submits that a sentence of 24 months of incarceration is the

appropriate sentence for the convictions in this case. While the defendant may face

further incarceration in his pending case,5 the imposition of a sentence of incarceration




5
 The conviction in this case will likely result in putting the defendant in the wire fraud case into criminal
history category II and an advisory guideline range of 97-121 months before any reduction for acceptance
of responsibility based an amount of loss greater than $3.5 million and upward adjustments for abuse of
position of trust, sophisticated means, and the commission of offenses while on release.



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(and not mere probation) is important for both specific and general deterrence.

      In addition to the need to deter Das for his escalating pattern of fraud, a sentence of

incarceration is also important to promote respect for campaign finance laws that are there

to protect our democratic system of government. Contribution limits seek to level the

playing field for voters, instead of giving outsized influence to wealthy individuals. Laws

that criminalize the conversion of more than $25,000 in campaign funds deters candidates

and elected officials from self-dealing. Finally, the laws mandating truthful reporting of

contributions and cash-on-hand in FEC Form 3 are important to ensure the voting public

has accurate information to make their voting decisions. Das violated each of these laws,

and any sentence short of incarceration would send the wrong message.

      2. Comparable Cases

      A sentence of 24 months is also not disproportionate. A review of sentences in

comparable cases helps “avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct.” See 18 U.S.C. §

3553(a)(6). While criminal charges for violations of the FECA are not as commonplace

as other fraud offenses, out of 12 FECA cases since 2015, 8 have resulted in sentences of

incarceration ranging from 10 to 120 months. The average period of incarceration, when

imposed, is 31.5 months.

      A summary of these cases is attached as Exhibit A.




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                                            Conclusion

       Accordingly, the government submits that the Court should sentence the defendant,

Abhijit Das, to a sentence of incarceration of 24 months followed by a period of

supervised release of 2 years.


                                                  Respectfully submitted,

                                                  JOSHUA S. LEVY
                                                  Acting United States Attorney

                                           By:    /s/ Neil Gallagher
                                                  Neil J. Gallagher, Jr.
                                                  Assistant U.S. Attorney

                                                  Date Submitted: July 11, 2024

                                   Certificate of Service

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                                           By:    Neil Gallagher
                                                  Neil Gallagher
                                                  Assistant U.S. Attorney




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